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    1   ADEPT LAW FIRM
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    5   Attorneys for Plaintiff
              FRANKIE MITCHELL
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    8
                        UNITED STATES DISTRICT COURT FOR THE
    9
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11
        FRANKIE MITCHELL;                             Case No. 2:20-cv-01789-MCS (AGR)
   12
                            Plaintiff,                JOINT WITNESS LIST
   13         v.
                                                      TRIAL: June 22, 2021
   14   NEW YORK LIFE INSURANCE                       TIME: 8:30 am
        COMPANY, a business entity, form              Courtroom 7C
   15   unknown; and DOES 1 through 15,
        Inclusive;
   16                                                 Hon. Mark C. Scarsi, Judge Presiding
                            Defendants.
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   19         THE PARTIES JOINTLY provide the following JOINT EXHIBIT LIST,
   20   for the trial of the above entitled matter.
   21
   22   1.    Linda Marks, daughter of Richard Stevens, the insured.
   23   2.    Laura Mitchell, mother of Frankie Mitchell, first named beneficiary.
   24   3.    Frankie Mitchell, Plaintiff, named beneficiary.
   25   4.    Stephanie Tennis, Plaintiff’s fiancé.
   26   5.    Anthony Stevens, son of Richard Stevens, the insured. (Objection by
   27         Defendant as to this witness).
   28   5.    James Blanco, handwriting expert of Defendant. (Objection by Plaintiff to

                                                 Page 1
                                          JOINT WITNESS LIST
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    1         this witness, no designation, no exchange.)
    2   6.    Nicole Holland, Defendant New York Life Ins. Co., claims handler.
    3   7.    Steven Barnett, Defendant New York Life Ins. Co., claims manager and
    4         person most knowledgeable about the contract and claim.
    5   8.    Impeachment witnesse(s). Reserved by each side.
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    7
        DATED: May 17, 2021            ADEPT LAW FIRM
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    9
                                              Joseph S. Fogel /s/
   10                                  By:
                                              JOSEPH S. FOGEL,
   11                                         Attorney for Plaintiff,
                                              FRANKIE MITCHELL
   12
        DATED: May 17, 2021            KASOWITZ BENSON TORRES
   13
   14
                                             Kirsten C. Jackson /s/
   15                                  By:
                                              Kirsten C. Jackson
   16                                         Attorney for Defendant
                                              NEW YORK LIFE INSURANCE COMPANY
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                                       JOINT WITNESS LIST
